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UNITED STATES DISTRICT COURT FILED BY AQ __D.C.
SOUTHERN DISTRICT OF FLORIDA
SEP 1 1 2019

Case No.: 0:19-C V-61784 ANGE
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CARY KAUFMAN, individually

and on behalf of all others similarly situated, CLASS ACTION
Plaintiff, JURY TRIAL DEMANDED
V.

NOVA SKIN INC. d/b/a NOVA SKIN
PRODUCTS,

Defendant.

 

MOTION FOR SUMMARY JUDGMENT

COMES NOW, the Defendant, NOVA SKIN INC., by and through their
undersigned counsel, and hereby files this motion for summary judgment pursuant to

Local Rule 56.1. In support, the Defendant states as follows:

No Genuine Issue to be Tried

1. There is no genuine issue to be tried.

2. The Plaintiff would have to prove that the Defendant used a mass automated
dialing system, through a third party, contracted by the Defendant. The
Plaintiff will not be able to prove any such assertion as that claim has no basis
and is untenable.

3. The Defendant received written consent from the Plaintiff to send her a
message.

4. The Plaintiff, voluntarily and of her own free will and accord, came to the
Defendant’s booth and signed up for text message service on November 24,
2015.

5. The Defendant then had the Plaintiff's express, written consent to send a text

message to the Plaintiff.
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6. On the Defendant’s newsletter sign up sheet, where the Plaintiff voluntarily
signed, it states that by signing Plaintiff authorized Nova Skin to send
advertisement and offers via email text or WhatsApp. Attached as Exhibit
A.

7. This is clearly and conspicuously written on the newsletter sign up sheet that
the Plaintiff signed and it expressly shows the ‘consequences of providing the
requested consent.’

8. The Plaintiff cannot prove injury. The Plaintiff signed the Defendant’s
newsletter on November 24, 2015. No reasonable jury would consider two
text messages, sent over the span of 4 years, as ‘an invasion of privacy,
aggravation, annoyance, intrusion and trespass’ as alleged by Plaintiff in their
Amended Complaint.

9. Further, the actual text message presented by the Plaintiff in their Amended
Complaint, states that, if the Plaintiff did ‘not want to receive the information,
please let us know.’ The Plaintiff who had voluntarily and in writing,
consented to receiving the text message, could simply have opted out at any
time.

10. There is no evidence that, before filing this lawsuit, the Plaintiff let the
Defendant know that she did not want to receive the text message.

11. The Plaintiff asked the court for Injunctive Relief when the alleged behavior
of the Defendant has already stopped. This claim or request is thus redundant.

12. Therefore, the Plaintiff has failed to state a claim upon which relief can be

granted.

No Class Action
13. Pursuant to Local Rule 23 on Class Actions, the Plaintiff would have to prove
the size and definition of the alleged class. There is nothing in the statement of
facts that support a class action.
14. The Plaintiff cannot prove a class ‘numbering in the thousands’, as they allege

in their Amended Complaint.
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15. Pursuant to FRCP 23 (1) (A), the Plaintiff has to prove that the claims of the
Plaintiff represent those of a class and that representation will fairly and
adequately protect the interests of the class. The Plaintiff cannot prove an
adequate representation of a class as there is no class.

16. Pursuant to FRCP 23(1)(A), the Plaintiff has to prove common questions of
law and fact. There are no questions of law and fact common to the class.

17. Pursuant to FRCP 23(1)(A), the Plaintiff has to prove that the class is
numerous. The Plaintiff cannot establish a class.

18. Thus, the predominance requirement for class certification under FRCP
23(b)(3) is not satisfied.

Lack of Subject Matter Jurisdiction
19. Pursuant to FRCP 12(4)(B)(b), as there is no class action, the federal court
does not have jurisdiction in this case. The Plaintiff has no basis on which to
claim that the ‘proposed class numbering in the thousands, or more, exceeds the
$5,000,000.00 threshold for federal court jurisdiction under the Class Action

Fairness Act’.

20. Thus, the case does not meet the threshold for federal jurisdiction.

21. Further, the TCPA does not apply to this case because the Plaintiff cannot
prove any of the statements asserted in the Amended Complaint. The Plaintiff
cannot prove that any text sent from the Defendant ‘originated from a short-
code, [which], demonstrates that Defendant utilized an ATDS in transmitting the
messages.’

22. Also, The TCPA does not apply because the Plaintiff, by freely and
voluntarily signing the Defendant’s newsletter sign up sheet, gave express
consumer consent to receive messages.

23. Under the TCPA 47 U.S. Code §227(2)(D), this was not an ‘unsolicited
advertisement’ but even if it was, 47 U.S. Code §227(2)(D)(i) shows that the
“notice was clear and conspicuous, and on the first page’ when the Plaintiff

signed the newsletter sign up sheet.
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24. Also, 47 U.S. Code §227(2)(D)(ii) the ‘recipient may make a request to the
sender ....not to send any future unsolicited advertisements.’ At no time did
the Plaintiff make any such request. The text message send has an ‘opt out’
mechanism and the Plaintiff could have easily advised the Defendant not to

send any more text messages.

WHEREFORE, the Defendant requests this Court:

25. Enter an order for summary judgment or judgment as a matter of law.

26. Disallows and strikes the purported class action allegation. In the alternative,
the Defendant ask for a postponement of the determination pending discovery
or such other preliminary procedures as appear appropriate and necessary.

27. Pursuant to FRCP 23(1){A), determines by order and certify whether the
action is a class action.

28. Award attorney fees and court costs to the Defendant as the Plaintiff brought

this claim without any basis.

Jury Trial
29. Defendant hereby requests a jury trial if the above request is not granted.

Request for Hearing
30. If the court does not grant this motion for summary judgment, the Defendant

makes this request for hearing.

31. At the hearing, the Defendant can prove to the court that the Plaintiff
voluntarily provided written consent to receive text messages on November
24, 2015, that the Plaintiff has been sent only 2 text messages in 4 years, and
that the Plaintiff has suffered no harm.

32. The Defendant would only need an hour for the hearing and this hearing

would help the court to appreciate that the Plaintiff has no valid legal claim.
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I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished to JIBRAEL S. HINDI, ESQ. and THOMAS J. PATTI, ESQ. of The Law Offices
of Jibrael S. Hindi, 110 SE 6th Street, Suite 1744, Fort Lauderdale, Florida 33301, via e-
filing and email at jibrael@jibraellaw.com and tom@jibraellaw.com this 11" day of

September 2019.

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